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Attorney for Defendant, BRIAN SUSCHKE
__________________________________________
                                  :
Plaintiff(s)                      :
                                  :
TIMOTHY J. MILLER                 : UNITED STATES DISTRICT COURT
                                  : DISTRICT OF NEW JERSEY
                                  : TRENTON DIVISION
        v.                        :
                                  :     Case No.: 08-3092 (AET)
Defendant(s)                      :
                                  :
TRENTON POLICE, TAC TEAM MEMBERS  :
RYAN WOODHEAD, PETER GREHAN, TARA :
STEFANO, JASON ASTERBURY, BRIAN   :
SUSCHKE, NELSON CARTAGENA         :     ANSWER & SEPARATE
                                  :           DEFENSES
                                          OF BRIAN SUSCHKE
                                  :     __________________________
                                  :     Document Filed Electronically
                                  :

        Defendant, Brian Suschke, by way of Answer to the Complaint of the Plaintiff, says:

                                            PARTIES

        1. This Defendant neither admits nor denies the allegations of this paragraph but leaves

the Plaintiff to his proofs.

        4. The allegations of this paragraph are not directed against this Defendant and therefore

no answer is required.

        5. b.c.d. The allegations of this paragraph are not directed against this Defendant and

therefore no answer is required.



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       5. e. The Defendant Brian Suschke specifically denies each and every allegation in the

Plaintiff’s complaint against him.

       5. f.g. The allegations of this paragraph are not directed against this Defendant and

therefore no answer is required.

       6. The Defendant Brian Suschke specifically denies each and every allegation in the

Plaintiff’s complaint against him.

       Wherefore, Defendant Brian Suschke demands that this Count be dismissed with

prejudice, together with costs of suit and attorneys fees.

                                     SEPARATE DEFENSES

       1.      This particular Defendant was not guilty of any negligence, which was a

proximate or producing cause of any injury or damage alleged in the Complaint.

       2.      At the time and place alleged in this Complaint, this particular Defendant violated

no legal duty then and there owing to the Plaintiff.

       3.      Any injury or damage alleged in the Complaint was caused solely by the

negligence of the Plaintiff, whereby the Plaintiff is barred from recovery from this Defendant.

       4.      The negligence of the Plaintiff was greater than any negligence of this particular

Defendant and, therefore, Plaintiff is not entitled to recover damages against this particular

Defendant or, in the alternative, any damages awarded to the Plaintiff should be reduced in

proportion to the percentage of negligence attributable to the Plaintiff.

       5.      Defendant assert that they are entitled to credit or set-off with respect to all

collateral payments made to Plaintiffs, in accordance with N.J.S.A. 2A:15-97.

       6.      Defendant pleads the defense of N.J.S.A. 2A:15-5.2.


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      7.    Defendant pleads the defense of N.J.S.A. 2A:15-5.2.

      8.    The claims of the Plaintiff are barred by N.J.S.A. 59:2-1.

      9.    Plaintiff’s Complaint is barred by N.J.S.A. 59:2-2(b).

      10.   The claims of the Plaintiff are barred by N.J.S.A. 59:2-3.

      11.   Plaintiff’s Complaint is barred by N.J.S.A. 59:2-4.

      12.   Plaintiff’s Complaint is barred by N.J.S.A. 59:3-1(b).

      13.   Plaintiff’s Complaint is barred by N.J.S.A. 59:3-2.

      14.   Plaintiff's Complaint is barred by N.J.S.A. 59:3-3.

      15.   Plaintiff’s Complaint is barred by N.J.S.A. 59:3-4.

      16.   Plaintiff’s Complaint is barred by N.J.S.A. 59:3-5.

      17.   Plaintiff’s Complaint is barred by N.J.S.A. 59:3-8.

      18.   Plaintiff’s Complaint is barred by N.J.S.A. 59:3-9.

      19.   Plaintiff’s Complaint is barred by N.J.S.A. 59:5-1.

      20.   Plaintiff’s Complaint is barred by N.J.S.A. 59:5-2.

      21.   Plaintiff’s Complaint is barred by N.J.S.A. 59:5-4.

      22.   Plaintiff’s Complaint is barred by N.J.S.A. 59:8-3.

      23.   Plaintiff’s Complaint is barred by N.J.S.A. 59:8-5.

      24.   Plaintiff’s Complaint is barred by N.J.S.A. 59:8-5.

      25.   Plaintiff’s Complaint is barred by N.J.S.A. 59:8-6.

      26.   Plaintiff’s Complaint is barred by N.J.S.A. 59:8-7.

      27.   Plaintiff’s Complaint is barred by N.J.S.A. 59:8-8.

      28.   Plaintiff’s Complaint is barred by N.J.S.A. 59:8-9.


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        29.     Plaintiff’s damages are limited by N.J.S.A. 59:9-2.

        30.     Plaintiff’s damages are limited by N.J.S.A. 59:9-3.

        31.     Plaintiff’s damages are limited by N.J.S.A. 59:9-3.1.

        32.     Plaintiff’s damages are limited by N.J.S.A. 59:9-4.

        33.     Plaintiff’s damages are limited by N.J.S.A. 59:9-5.

        34.     Plaintiff’s damages are limited by N.J.S.A. 59:9-7.

        35.     Defendant pleads the defense of probable cause.

        36.     Defendant pleads the defense of good faith.

        37.     Defendant pleads the defense of municipal immunity.

        38.     Defendant pleads the defense of proper force.

        39.     Defendant pleads the defense of self-defense.

        40.     Defendant pleads the defense of justification.

        41.     Defendant pleads the defense of absolute immunity.

        42.     Defendant pleads the defense of proper arrest.

        43.     Defendant pleads all those defenses that would be permissible to Defendant in

accordance with Common Law.

        44.     Defendant pleads all those statutory defenses permissible in accordance with New

Jersey Criminal Code.

        45.     The claims of the Plaintiff lacks merit and are frivolous in nature. Defendant

hereby reserves the right to institute a subsequent claim for abuse of process and of the institution

of a frivolous lawsuit, subject to the dismissal of the instant claim of the Plaintiff.

        46.     The Defendant pleads the doctrine of collateral estoppel.


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          47.    Any injuries incurred by the Plaintiff were due to his own involuntary actions.

          48.    Defendant's actions were not intentional or willful misconduct.

          49.    Defendant pleads the defense of qualified immunity.

          50.    Defendant hereby reserves the right to add additional separate defenses based

upon pre-trial discovery and trial testimony.

          51.    Plaintiff’s Complaint fails to state a cause for action against the Defendant

named herein, fails to state with any specificity the allegations against this Defendant and fails to

allege a basis for relief.

          52.    This particular Defendant was not guilty of any conduct which could be held to

violate 42 U.S.C. 1983 or which was a proximate or producing cause of any injury or damage

alleged in the Complaint.

          53.    This Defendant pleads the defense of the statute of limitations.

                                           JURY DEMAND

          This particular Defendant demand a trial by jury consisting of twelve (12) members on all

issues.

                             DEMAND FOR STATEMENT OF DAMAGES

          The Defendant demand that the Plaintiff serve upon it a statement of damages itemizing

each item of damages and providing the means of calculation for each.

                                          CERTIFICATION

          I hereby certify that the matter in controversy in the within Complaint is not the subject of

any other action pending in any Court of any pending arbitration proceeding nor in any such

proceeding contemplated at this time by the Defendant.


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         I further certify that to the best of my knowledge and belief there are no other parties who

should be joined to this action.

                                                                  JOHN MORELLI, P.C.


                                                            By:   s/ John Morelli (MORE8109)
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Dated: June 25, 2009
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